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                             EXHIBIT A
     Letters in Support of Alexander Mashinsky’s Sentencing Submission
  Number            Name
   A-1              Jason Amerson
   A-2              David Barse
   A-3              Santos Caceres
   A-4              Otis Davis
   A-5              Phil Falcone
   A-6              Chase Hernandez
   A-7              Martin Kalin
   A-8              Patty Keung
   A-9              Juanita Kolodychuk
   A-10             Gerald Komisar
   A-11             Laura Ly
   A-12             David Mashinsky
   A-13             J       M
   A-14             Natalie Mashinsky
   A-15             Rena Mashinsky
   A-16             Rita Mashinsky
   A-17             Kristine Meehan
   A-18             Makenzie Moen
   A-19             Art Murray
   A-20             M.P.
   A-21             Brian Peel
   A-22             Robert Pistey
   A-23             Edwin Rainbow
   A-24             Michael Rappaport
   A-25             Steven Reiter
   A-26             Karina Rosenbaum
   A-27             S.A.S.
   A-28             Araceli Sanchez
   A-29             Michael Sarkissian
   A-30             Elionora Lola Scheiner
   A-31             Michael Scheiner
   A-32             Gary Simpson
   A-33             Lydia Spinelli
   A-34             Deena Thomas
   A-35             Joshua Tolin
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                             EXHIBIT A
     Letters in Support of Alexander Mashinsky’s Sentencing Submission
  Number            Name
   A-36             Mark Vozzo
   A-37             Zach Wildes
   A-38             Yael Yirmiyahu
   A-39             Felix Zeller
   A-40             Bobby Darby
   A-41             Brian McMullen
